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John E. Mitchell (Admitted Pro Hac)                            Andrea S. Hartley (Admitted Pro Hac)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac)
2001 Ross Avenue, Ste. 3600
Dallas, TX 75201                                               AKERMAN LLP
Tel.: (214) 720-4300                                           98 Southeast Seventh Street, Ste. 1100
Fax: (214) 981-9339                                            Miami, FL 33131
                                                               Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
Counsel for Debtors and Debtors in Possession

Michael Luskin
Stephan E. Hornung
Alex Talesnick
LUSKIN, STERN & EISLER LLP
Eleven Times Square
New York, New York 10036
Tel.: (212) 597-8200
Fax: (212) 974-3205

Counsel for the Senior Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
MIAMI METALS I, INC., et al.,1                          )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )           (Jointly Administered)
                                                        )

     DEBTORS' AND THE SENIOR LENDERS’ JOINT STATEMENT OF MUTUAL
     UNDISPUTED FACTS PURSUANT TO S.D.N.Y. LOCAL BANKR. RULE 7056-1




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295 Northwest
163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami,
FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102); Republic Metals Trading
(Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639); and Republic Trans
Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación
Cuauhtémoc, Mexico DF 6000 (2942).



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         Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation) and its affiliated debtors

and debtors-in-possession as defined below (collectively, the “Debtors”) in the above-captioned

chapter 11 cases and Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown

Brothers Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”), submit this statement of mutual undisputed facts pursuant to S.D.N.Y. Local

Bankruptcy Rule 7056-1 in support of their Joint Motion for Summary Judgment as to Bucket 1

Customers.

A.       The Chapter 11 Cases

         1.     On November 2, 2018, Debtors Miami Metals I, Inc. (f/k/a Republic Metals

Refining Corporation), Miami Metals II, Inc. (f/k/a Republic Metals Corporation), and Miami

Metals III LLC (f/k/a Republic Carbon Company, LLC) each filed voluntarily petitions for relief

under Chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”), initiating these

Chapter 11 Cases. [ECF No. 1]. On November 21, 2018, Miami Metals VIII LLC (f/k/a Republic

High Tech Metals, LLC), Miami Metals VI LLC (f/k/a RMC Diamonds, LLC), Miami Metals VII

LLC (f/k/a RMC2, LLC), Miami Metals IV LLC (f/k/a J & L Republic LLC), Miami Metals V

LLC (f/k/a R & R Metals, LLC), Republic Trans Mexico Metals, S.R.L., and Republic Metals

Trading (Shanghai) Co., Ltd. filed voluntarily petitions for relief under the Bankruptcy Code,

initiating their Chapter 11 Cases. (The petition dates of November 2, 2018 and November 21, 2018

shall be collectively referred to hereafter as the “Petition Date”).

         2.     The Debtors are debtors-in-possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

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           3.       On November 19, 2018, the Office of the United States Trustee for the Southern

District of New York appointed the Official Committee of Unsecured Creditors in these cases.

[ECF No. 113].

           4.       On March 7, 2019, the Debtors closed on the sale of substantially all of their assets

to Asahi Holdings, Inc. (“Asahi”) [ECF No. 713]. The Debtors are continuing to liquidate their

remaining physical assets. [ECF Nos. 219, 286, 358, and 563].

B.         The Senior Lenders’ Relationship with the Debtors

           5.       As of the Petition Date, the Senior Lenders were collectively owed (and continue

to be owed) over $177 million by the Debtors under certain credit agreements, master netting

agreements and lease agreements (collectively, the “Credit and Lease Agreements”).2 First Interim

Order (as defined below), ECF No. 54 at Schedule 2. The obligations under the Credit and Lease

Agreements are secured by valid and perfected liens on substantially all of the Debtors’ assets,

including the Debtors’ inventory and the proceeds thereof (other than Debtors Republic Metals

Trading (Shanghai) Co., Ltd. and Republic Trans Mexico Metals, S.R.L.). Id. at ¶ F(vi).

           6.       The Senior Lenders are parties to that certain Second Amended and Restated

Intercreditor Agreement, dated February 19, 2016 (as amended from time to time the “Intercreditor

Agreement”), which governs the respective rights and interests of the Senior Lenders in the assets

of Debtor Miami Metals II, Inc. (f/k/a Republic Metals Corporation (“RMC”). Id. at ¶ F(iii). RMC

executed the Intercreditor Agreement. Id.

C.         The Interim Cash Collateral Orders and the Ownership Disputes

           7.       On the Petition Date, the Debtors filed the Motion For Entry of Interim and Final

Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to



2
    The Credit and Lease Documents are listed on Schedule 1 to the Initial Cash Collateral Motion.


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the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief (the “Initial

Cash Collateral Motion”) [ECF No. 10].

         8.     On November 8, 2018, the Court entered its first Interim Order Pursuant to 11

U.S.C. §§ 105, 361, 362, 363, 503 and 507 (I) Authorizing the Debtors to Use Cash Collateral,

(II) Granting Adequate Protection to the Secured Parties, (III) Scheduling a Final Hearing and

(IV) Granting Related Relief (the “First Interim Order”) [ECF No. 54].

         9.     Pursuant to the First Interim Order, among other things, the Senior Lenders

consented to the Debtors’ use of their cash collateral to fund the costs and expenses of

administering the chapter 11 cases, and the Senior Lenders were granted superpriority claims and

adequate protection liens on substantially all of the Debtors’ assets to protect against any

diminution in value of their collateral. Id. at ¶ 8(b).

         10.    On November 13, 2018, the Debtors and the Senior Lenders filed the Joint

Supplement of the Debtors and the Senior Lenders to the Cash Collateral Motion (together with

the Initial Cash Collateral Motion, the “Cash Collateral Motion”) [ECF No. 78]. The Court

subsequently entered five additional interim cash collateral orders (collectively, the “Interim Cash

Collateral Orders”) [ECF Nos. 277, 373, 538, 675 and 864].

         11.    Numerous customers and/or suppliers of the Debtors (the “Customers”) objected to

the Cash Collateral Motion and the Inventory Payments on the basis that the Debtors’ inventory

and its cash proceeds (the “Disputed Assets”) belonged to the Customers and were not property of

the Debtors’ bankruptcy estates, giving rise to the current disputes concerning the ownership of

the Disputed Assets (the “Ownership Disputes”). Following extensive negotiations among the

Debtors, the Senior Lenders, and the Customers, the Court entered an Order Approving Uniform




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Procedures for Resolution of Ownership Disputes (“Uniform Procedures Order) [ECF No. 395].3

D.       The Uniform Procedures

         12.      The Debtors reviewed more than 50 Statements of Claimed Ownership and Claims

(“Customer Statements”) filed by the Customers pursuant to the Uniform Procedures Order. The

Senior Lenders and the Debtors filed their responses to the Customer Statements on February 18,

2019 and February 19, 2019, respectively [ECF Nos. 637, 648], after which more than 20

Customers filed an amendment and/or supplement to their Customer Statement.

         13.      At the March 21, 2019 status conference, the Debtors and the Senior Lenders

identified several buckets of customers and legal issues and proposed a briefing schedule as to two

buckets of claims that can be adjudicated as a matter of law. The Court set a briefing deadline for

the Debtors and Senior Lenders to brief the legal issues relating to the Bucket 1 Customers. The

Court also permitted briefing on Bucket 2, but cautioned that this would depend on how many

settlements the Debtors and Senior Lenders would be able to negotiate with Customers in Bucket

2 (“Bucket 2 Customers”). The Debtors and Senior Lenders have resolved, subject to Court

approval, all but one claim of a Bucket 2 Customer which is less than $20,000.4 The Court set

aside May 20, 2019 and May 21, 2019 for oral argument on the Bucket 1 and (possibly) Bucket 2

legal issues.

         14.      Discovery is ongoing under the Amended Uniform Procedures Order.

E.       The Debtors’ Refining Process

         15.      Prior to the Petition Date, the Debtors refined precious metals, primarily gold and



3
 On April 15, 2019, the Court entered a First Amended Order Approving Uniform Procedures for Resolution of
Ownership Disputes ("Amended Uniform Procedures Order") [ECF No. 913].
4
  The Debtors and the Senior Lenders are attempting to obtain the consent of this customer to enlarge the time for
them to file a brief. Alternatively, the Debtors and Senior Lenders will seek court approval to stay the briefing as to
the Bucket 2 Customers.


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silver. Declaration of Scott Avila, as Chief Restructuring Officer, in Support of Joint Motion for

Summary Judgment (the "Avila Decl.") ¶ 5. Customers from all over the United States and the

Western Hemisphere shipped unrefined material, primarily containing gold and silver, to the

Debtors for refining. Id. The Debtors refined this material and produced refined silver and gold

bars and casting grains. Based on demand, the refined gold and silver was either sold or sent to

the mint for the production of "value added" minted and casted products of various designs and

sizes. Id.

         16.   Following the final assays for the raw materials delivered to the Debtors, the

precious metal content of each shipment was finalized. Remaining balances known as "pool

balances" were paid to customers on an agreed upon settlement date or when the customer

requested payment. Id. at ¶ 6. The customers, including Bucket 1 Customers, could elect that the

Debtors make payment for raw materials either by check or wire transfer or the issuance of a "metal

credit" to the customer's designated "Loco London" metal account, less, in each case, applicable

refining and/or retention charges. Id. The customers could also request payment in the form of

refined metal of like kind and quantity. Customers could request an "advance" payment on a

shipment. The Debtors typically paid advances in an amount equal to approximately 95% to 98%

of the estimated metal value of the applicable shipment in one or more payments of metal credits

or U.S. dollars, less refining and/or retention charges. Id.

         17.   After raw materials were received by the Debtors, they were assigned lot numbers,

weighed, melted, sampled for assay testing and put into the refining process, generally on the same

day. Id. at 7. With the exception of Peace of MinedTM customers (discussed below), during the

refining process the individual customer lots were commingled with other customer lots. During

the refining process the commingled lots were further commingled with "clean up bars" (i.e.,



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residual material that comes out of the refining process) to create "house bars," which were then

put through various additional refining processes, including the dissolving of the material. Id. The

dissolve process was a procedure by which material was dissolved in acid to create a solution,

analogous to dissolving sugar in hot water (the "Dissolution Process"). Id. The refining process

produced metal billets, bars, and sacks of grain that each weighed approximately fifty pounds (the

"Refined Product"). The Refined Product was then transferred to the vault and then sold or

transferred to the mint for the production of various minted products, coins, cast bars, etc. (the

"Minted Products"). Id.

         18.      The Debtors could not identify the raw materials delivered by customers after they

were commingled with other lots for refining and during and after the Dissolution Process. Nor,

could the Debtors identify what raw materials or lots were included in Refined Product or Minted

Product. Id. at ¶ 8.

F.       The Debtors’ Peace of MinedTM Program

         19.      As advertised on the Debtors’ website, the Debtors offered a “Peace of Mined”

service to Customers for traceable closed-circuit single-batch refining at an additional cost. Avila

Decl. ¶ 9.5 Customers paying for the Peace of Mined service could ensure that their metals were

never commingled at any point during the refining process. Id. The Peace of Mined Terms

provide, in pertinent part:

                  In order to create a 100% traceable product, Republic Metals’ Peace of
                  Mined™ refining circuit uses a proprietary process that allows for batch
                  refining. Unlike electrolytic refining, batch refining allows for material to
                  freshly enter a clean circuit during the refining process, and at no point come
                  in contact with any other-sourced metal. In the Peace of MinedTM refining
                  circuit, the designated material is the only material present, and all of that
                  material is removed at termination of the process, so there are no leftovers

5
  Following the closing of the sale of substantially all of the Debtors’ assets to Asahi, the former RMC website is no
longer available. A copy of the Peace of Mined Terms is attached to the Avila Declaration as Exhibit A.


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                  in the circuit−it can in no way be commingled with metal originating from
                  other sources.

Id.

         20.      None of the Bucket 1 Customers elected or paid for the Peace of Mined service.

Id. at ¶ 10.

G.       The Debtor’s Standard Terms and Conditions

         21.      As part of the Debtors’ new customer onboarding process, the Debtors had a

practice of having each new customer execute their Standard Terms (as defined below). Avila

Decl. ¶ 11.

         22.      Sixteen of the Bucket 1 Customers executed the Standard Terms and General

Operating Conditions of RMC (“RMC Standard Terms”). Id. at ¶ 12. Six of the Bucket 1

Customers executed the Standard Terms and General Operating Conditions of RMC2 (“RMC2

Standard Terms” and together with RMC Standard Terms, the “Standard Terms”).6 Id.

         23.      The Debtors’ Standard Terms govern the relationship between the Debtors and the

Bucket 1 Customers and evidence a purchase and sale relationship. True and correct copies of the

governing Standard Terms executed by the Bucket 1 Customers are attached to the Avila

Declaration as Composite Exhibit D. A schedule listing the version (RMC Standard Terms or

RMC2 Standard Terms) executed by Bucket 1 Customers is attached to the Avila Declaration as

Exhibit E. A schedule of Bucket 1 Customers that have not produced an executed copy of the

Standard Terms is attached to the Avila Declaration as Exhibit F. The Debtors have been unable

to locate an executed copy of Standard Terms for these customers.



6
 The RMC Standard Terms and the RMC2 Standard Terms were available on the Debtors' website until the sale of
substantially all of the Debtors' assets to Asahi and the closing of the website. All references to the Debtors' Standard
Terms are to the RMC most recent Standard Terms and, for ease of reference, are attached to the Avila Declaration as
Exhibit B. A copy of the RMC2 Standard Terms is attached to the Avila Declaration as Exhibit C.


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           24.     The Standard Terms provide as to pool account metal balances that it is merely a

ledger and if metals are returned to a customer, the returned metals will be “like kind” metals from

“common inventory,” specifically providing as follows:

                   A pool account is a ledger account representing the amount of returnable
                   metal owed to Customer (if account reflects a positive balance), or the
                   amount of metal owed to RMC (if the account reflects a negative balance).
                   Precious metals are fungible; therefore any unit of material is equivalent to
                   another of like kind, i.e. similar quality and/or value, and is deemed
                   adequate payment for purposes of outstanding Pool Accounts. Returnable
                   metal represented in a Customer Pool Account does not pertain to
                   specific, segregated, or identifiable metal; rather it represents a future
                   obligation of RMC to return common inventory of gold, silver, platinum,
                   palladium, or platinum group metals. RMC reserves the right to return
                   precious metals to Customer of like kind representing the ounces of precious
                   metals owed to Customer.

RMC Standard Terms at 3, Avila Decl. at Ex. B (emphasis added).

           25.     The Standard Terms are binding on the Bucket 1 Customers, clearly providing that:

                   Unless otherwise stipulated, these Standard Terms and General Operating
                   Conditions “Standard Terms” are applicable to transactions and/or contracts
                   between Republic Metals Corporation, “RMC”, and Customer. “Customer”
                   is defined as any business, corporation, company, person, entity, or anyone
                   else transacting business with RMC in any manner whatsoever. Any
                   contract or agreement entered into between Customer and RMC will operate
                   as if the terms represented in these Standard Terms were made expressly a
                   part thereof. RMC’s Standard Terms is the governing document with
                   respect to any and all business dealings between RMC and Customer and
                   shall override any and all provisions, terms, and stipulations in Customer
                   purchase orders, sales orders and/or any other Customer documents.
                   RMC’s failure to object to any terms, provisions, and/or stipulations
                   represented in any Customer documents that are at variance with RMC’s
                   Standard Terms shall not be deemed a waiver of the terms and conditions
                   contained herein.

Id. at 1, Avila Decl. at Ex. B (emphasis added).7

           26.     The Standard Terms are binding on all Bucket 1 Customers upon receipt and




7
    The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.


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provide as follows: “[d]elivering material or doing business with RMC after having received the

Standard Terms . . . deems that I have agreed to accept the Terms and General Operating

Conditions contained herein regardless of whether I have signed [the Standard Terms].” Id. at 4,

Avila Decl. at Ex. B.8

           27.     The Standard Terms demonstrate the nature of the Debtors and the Bucket 1

Customers’ relationship as buyer and seller as follows:

                  Warranty of Title: “Customer warrants to RMC that it has good and marketable
                   title to said property, full authority to sell and transfer said property, and that said
                   property is sold free of all liens, encumbrances, liabilities, and adverse claims of
                   every nature and description whatsoever.” Id. at 1 (emphasis added).9

                  Indemnity: “Customer further warrants to RMC that it will fully, defend, protect,
                   indemnify, and hold harmless RMC and its lawful successors and assigns from any
                   adverse claim thereto.” Id.10

                  Risk of Loss: “Risk of loss of material will pass from Customer to RMC upon
                   delivery to and acceptance at RMC’s refinery, unless otherwise agreed.” Id.11

                  Refining Charges: “All RMC [refining] charges are payable upon the rendering of
                   an invoice. . . . Until such time, RMC shall be deemed to retain title to and a
                   security interest in all material covered by any RMC invoice to secure the payment
                   of the same.” RMC Standard Terms at 2 (emphasis added).

                  RMC Purchases:

                   o        “Customer warrants that any purchase or sale contract has been effectuated
                            by Customer for the sole purpose of securing pricing for the ultimate sale
                            or purchase of precious metals and has not been made for any speculative
                            reason whatsoever.” Id. at 3 (emphasis added).

                   o        “By agreeing to the terms and conditions contained herein, and receiving an
                            e-mail confirming the details of Customer’s trade, Customer agrees that he
                            has entered into a written, legally binding contract for the sale/purchase
                            of precious metals contained within the confirmation e-mail. Customer
                            further warrants that said contract is in compliance with the Florida

8
    The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 13.
9
    The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.
10
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.
11
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.


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                            Uniform Commercial Code § 672.201, § 668.003 (4) and § 668.004 and
                            agrees to waive any defenses under Florida Uniform Commercial Code §
                            672.201.” Id. at 3-4 (emphasis added).12

                  Parties: “Both Parties agree that they are merchants as defined in the Uniform
                   Commercial Code § 2-104(1).” Id. at 4, Avila Decl. at Ex. B (emphasis added).13

           28.     The Debtors also consigned metals to customers. The Standard Terms address

these consignments and describe the relationship as a "consignment/bailment," specifically

addressing title and stating that the consigned property remains property of the Debtors as follows:

                   It is expressly agreed upon by both parties that any and all material shipped
                   to Customer, and/or delivered to Customer, and/or released to customer on
                   a consignment/bailment basis remains property of RMC . . . . Customer
                   does not have legal title to such property . . . .”)

Id. at 3, Avila Decl. at Ex. B (emphasis added).

           29.     Finally, the Standard Terms contain a broad integration clause as follows:

                   Integration: This instrument contains the entire agreement between the
                   parties relating to the rights granted and the obligations assumed, and
                   incorporated all representations or modifications concerning this instrument
                   whether arising from any usage or trade, course of dealing, accepted
                   industry practice, course of performance, evidence of consistent additional
                   terms, or otherwise.

 Id. at 4, Avila Decl. at Ex. B 14

           30.     In addition to the Debtors’ customary practice of having all new customers execute

the Standard Terms, each metal report, invoice, sale/purchase order and other transaction

confirmation issued by the Debtors also expressly stated that it was subject to the Standard Terms

and included a reference to the versions posted on the Debtors' website. Avila Decl. ¶ 13.




12
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 10.
13
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 12.
14
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 12.

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 Dated: New York, New York                     Respectfully submitted,
        April 19, 2019

 LUSKIN, STERN & EISLER LLP                    AKERMAN LLP

 /s/ Michael Luskin                            /s/ John E. Mitchell
 Michael Luskin                                John E. Mitchell (Admitted Pro Hac)
 Stephan E. Hornung                            Yelena Archiyan (Admitted in New York)
 Alex Talesnick                                2001 Ross Avenue, Suite 3600
 Eleven Times Square                           Dallas, TX 75201
 New York, New York 10036                      Tel.: (214) 720-4300
 Tel.: (212) 597-8200                          Fax: (214) 981-9339
 Fax: (212) 974-3205
                                               Andrea S. Hartley (Admitted Pro Hac)
 Counsel for the Senior Lenders                Joanne Gelfand (Admitted in New York)
                                               Katherine C. Fackler (Admitted Pro Hac)
                                               98 Southeast Seventh Street, Suite 1100
                                               Miami, FL 33131
                                               Tel.: (305) 374-5600
                                               Fax: (305) 374-5095

                                               Counsel for Debtors and Debtors-in-Possession




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